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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW, and
      2. KIMBERLEY ANN TEW, a/k/a Kimberley Vertanen,

        Defendants.


                      PARTIES’ PROPOSED VERDICT FORM


        Please do not write anything on this form except to check a response and to

 sign and date the form.

      COUNT 1 – CONSPIRACY TO COMMIT WIRE FRAUD – MICHAEL TEW

         We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 1 of the Indictment, charging conspiracy to commit wire fraud:

                       Not Guilty

                       Guilty




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            COUNT 1 – CONSPIRACY TO COMMIT WIRE FRAUD
                               – KIMBERLEY TEW


        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 1 of the Indictment, charging conspiracy to commit wire fraud:

                     Not Guilty

                     Guilty


                  COUNT 2 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 2 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                  COUNT 3 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 3 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




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                  COUNT 4 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 4 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                  COUNT 5 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 5 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                  COUNT 6 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 6 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




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                  COUNT 7 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 7 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                  COUNT 8 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 8 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                  COUNT 9 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 9 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




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                 COUNT 10 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 10 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 11 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 11 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 12 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 12 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




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                 COUNT 13 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 13 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 14 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 14 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 15 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 15 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




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                 COUNT 16 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 16 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 17 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 17 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 18 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 18 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




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                 COUNT 19 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 19 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 20 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 20 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 21 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 21 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




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                COUNT 21 – WIRE FRAUD – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 21 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 22 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 22 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                COUNT 22 – WIRE FRAUD – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 22 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




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                 COUNT 23 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 23 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 24 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 24 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 25 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 25 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




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                COUNT 25 – WIRE FRAUD – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 25 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 26 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 26 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                COUNT 26 – WIRE FRAUD – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 26 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




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                 COUNT 27 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 27 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 28 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 28 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 29 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 29 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




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                 COUNT 30 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 30 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 31 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 31 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                COUNT 31 – WIRE FRAUD – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 31 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




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                 COUNT 32 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 32 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                COUNT 32 – WIRE FRAUD – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 32 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 33 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 33 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




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                 COUNT 34 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 34 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 35 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 35 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 36 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 36 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




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                 COUNT 37 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 37 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 38 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 38 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


                 COUNT 39 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 39 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty




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                 COUNT 40 – WIRE FRAUD – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 40 of the Indictment, charging wire fraud:

                     Not Guilty

                     Guilty


      COUNT 41 – CONSPIRACY TO COMMIT MONEY LAUNDERING –

                                  MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 41 of the Indictment, charging conspiracy to commit money

  laundering:

                     Not Guilty

                     Guilty


       COUNT 41 – CONSPIRACY TO COMMIT MONEY LAUNDERING
                               – KIMBERLEY TEW


        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 41 of the Indictment, charging conspiracy to commit money

  laundering:

                     Not Guilty

                     Guilty



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     COUNT 42 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 42 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


     COUNT 43 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 43 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


    COUNT 43 – MONEY LAUNDERING (SPENDING) – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 43 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty




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     COUNT 44 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 44 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


    COUNT 44 – MONEY LAUNDERING (SPENDING) – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 44 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


     COUNT 45 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 45 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty




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     COUNT 46 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 46 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


     COUNT 47 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 47 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


    COUNT 47 – MONEY LAUNDERING (SPENDING) – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 47 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty




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     COUNT 48 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 48 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


    COUNT 48 – MONEY LAUNDERING (SPENDING) – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 48 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


     COUNT 49 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 49 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty




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     COUNT 50 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 50 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


     COUNT 51 –MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 51 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


     COUNT 52 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 52 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty




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     COUNT 53 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 53 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


     COUNT 54 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 54 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty


     COUNT 55 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 55 of the Indictment, charging money laundering (spending):

                    Not Guilty

                    Guilty




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     COUNT 56 – MONEY LAUNDERING (SPENDING) – MICHAEL TEW

        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 56 of the Indictment, charging money laundering (spending):

                      Not Guilty

                      Guilty


    COUNT 56 – MONEY LAUNDERING (SPENDING) – KIMBERLEY TEW

        We, the jury, upon our oaths, unanimously find the defendant, KIMBERLEY

  TEW, in Count 56 of the Indictment, charging money laundering (spending):

                      Not Guilty

                      Guilty


                    COUNT 57 – WILLFUL FAILURE TO FILE
                          TAX RETURN – MICHAEL TEW


        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 57 of the Indictment, charging willful failure to file a tax return:

                      Not Guilty

                      Guilty




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                    COUNT 58 – WILLFUL FAILURE TO FILE
                          TAX RETURN – MICHAEL TEW


        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 58 of the Indictment, charging willful failure to file a tax return:

                      Not Guilty

                      Guilty


                    COUNT 59 – WILLFUL FAILURE TO FILE
                          TAX RETURN – MICHAEL TEW


        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 59 of the Indictment, charging willful failure to file a tax return:

                      Not Guilty

                      Guilty


                    COUNT 60 – WILLFUL FAILURE TO FILE
                          TAX RETURN – MICHAEL TEW


        We, the jury, upon our oaths, unanimously find the defendant, MICHAEL

  TEW, in Count 60 of the Indictment, charging willful failure to file a tax return:

                      Not Guilty

                      Guilty




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 ________________________________

 FOREPERSON



 Dated this ______th day of February, 2024.




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